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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                     15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                      Motion to Strike Plaintiff’s Supplement to Motion for
                     Adverse Inference Instruction Based on New Information




                                                                                              Laura A. Menninger
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       On July 22, 2016 this Court Ordered the parties to submit proposed search terms to the

Court and any briefing related to Plaintiff’s Motion for an Adverse Inference Instruction, DE-

279, and the briefing schedule set forth in the Court’s Order, DE-287, was adjourned. See, DE-

301.

       In direct contravention to the Court’s Order, on August 8, 2016, Plaintiff filed a

document captioned “Plaintiff’s Supplement to Motion for Adverse Inference Instruction Based

on New Information”. DE-338 . The motion is neither a “supplement” nor “based on new

information,” but rather a rehashing of issues previously litigated, repetitive and misleading

arguments, and new, highly speculative arguments that are not based in fact. Plaintiff claims that

Ms. Maxwell is withholding information when she is not and engages in ad hominin, scurrilous

attacks on Ms. Maxwell and her lawyers. The document should be stricken because it violates

the Court’s Order of July 22, 2016; it violates basic rules of pleading, and is not a supplement to

anything.

       A.      The Pleading Violates the Court’s Order

       There was nothing unclear about the Court’s July 22, 2016 order which adjourned the

briefing schedule on the Plaintiff’s motion for an adverse inference instruction as directed by the

Court: “A briefing schedule and submission date will be set after search terms are determined.”

The Plaintiff, without the permission of the Court, has simply attempted to again additional

briefing on a subject. To prevent a free-for-all motion practice in which the parties can violate

Orders and the basic rules of civil procedure, the “Supplement” and related documents should be

stricken.

       B.      The Pleading is Not a Supplement

       The Federal Rules of Civil Procedure do not define a “supplement” or “supplemental

authority” outside of the context of a “pleading,” which is defined in Rule 7(a). A motion is not

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a pleading. See, Advisory Committee Note 1 to F.R.C.P. 7. A pleading may only be

supplemented by leave of Court. Fed. R. Civ. P. 15(d). The Rules of Civil Procedure contain no

authority for the filing of a supplement to a motion. See, F.R.C.P. 7(b).

       Rule 28(j) of the Federal Rules of Appellate Procedure allows parties to provide

“pertinent and significant” supplemental authorities during an appeal where the “pertinent and

significant” authorities came to the party’s attention after the brief was filed. District Courts

have relied on this rule when evaluating whether a purported filing was a “supplement” as

opposed to an impermissible reply or sur-reply. See, Ormand v. Anthem, Inc., 2008 WL 906157,

at *1, n.2 (S.D. Ind. Mar. 31, 2008) (granting motion to strike notice of supplemental authority

under the criteria set forth in Fed. R. App. P. 28(j)).

       Courts throughout the country have regularly granted motions to strike improper filings

(such as improper supplemental authorities or improper sur replies), to control their own dockets.

See, Ormand, supra, 2008 WL 906157, at *1, n.2 (striking improper supplemental authorities);

Gen. Elec. Co. v. Latin Am. Imports, S.A., 187 F. Supp. 2d 749, 752 n.1 (W.D. Ky. 2001)

(striking notice of supplemental authority as improper sur reply: “A rebuke is in order here. ***

This is an improper filing, as proper motion practice under the local rules contemplates only

motions, responses, replies and memoranda; the court's inadvertent attention to these “notices”

occurred only after careful investigation of the record. This “Notice of Filing Supplemental

Authority” is properly construed as a motion for leave to file a sur reply, which is routinely

denied by this court. Moreover, such a motion, when utilized for the purpose of supplementing

argument on pending motions, should be used sparingly and for new, controlling case law—not

for recently discovered case law, nor for arguments which the parties did not think to make in

their pleadings.”); E.T.I. Euro Telecom Int'l N.V. v. Republic of Boliva, 2008 WL 4129987, at *1



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n.2 (S.D.N.Y. Sept. 4, 2008) (Swain, J.) (“disregard[ing]” improper sur reply); Pirnie v. Key

Energy Servs., LLC, 2009 WL 1386997 (D. Colo. May 15, 2009) (striking improper sur reply:

“Plaintiffs never asked for leave of court to file their sur reply brief; nor did they argue that a sur

reply brief was necessary under the circumstances of the case. Plaintiffs did not show that

Defendant had presented new material in the reply brief that it had not included in the original

motion for summary judgment. Thus, the Court finds that Plaintiffs' sur-reply brief is improper

and should be stricken.”); Lust v. Dedicated Res., Inc., 2004 WL 5483695 (S.D. Fla. Oct. 14,

2004) (striking improper sur reply).

        The “Supplement” filed by Plaintiff is simply more argument on a topic that the Court

has yet to set a briefing schedule. It is improper and should be stricken.

        C.      The Improper Pleading Misrepresents the Facts

        More significantly, Plaintiff’s Supplement completely misrepresents the facts. Ms.

Maxwell has run Plaintiff’s name as a search term on all of her devices and all of her email

accounts and has produced all responsive non-privileged documents. See Declaration of Laura

A. Menninger of August 1 and Ex. F (search terms run on Ms. Maxwell’s devices include:

roberts*, g!!ff!!*, virginia*, jenna*, jena*, genna*) (Doc. # 321-1).

        The defense, however, has not run Plaintiff’s name on defense counsel’s entire system of

computers, servers, hard-drives and email accounts, as Plaintiff has requested. Plaintiff’s

Request for Production 12 requested that “You” (defined as Ms. Maxwell or her agents or

attorneys) “[p]roduce all documents concerning Virginia Giuffre (a/k/a Virginia Roberts),

whether or not they reference her by name.” A search of the attorneys’ files for all documents

that “concern” Plaintiff is the search to which the defense has objected (repeatedly, in writing

and on the phone) and about which counsel has stated, correctly, such a search term is

inappropriate because it is “guaranteed” to generate “thousands of hits.” See, Supplement at 4.
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With the exception court filings and discovery in this case (which the Plaintiff already has), the

results would be all privileged documents.

       Plaintiff has conflated the issue of searching Ms. Maxwell’s devices and email accounts

with the issue of searching the attorneys’ files and has based her entire Supplement on this

fundamental misrepresentation.

       Likewise, Plaintiff misconstrues and misrepresents many other facts concerning Ms.

Maxwell’s communications with other witnesses and with regard to her email accounts. The

Court has limited, for example, discovery of communications with certain enumerated witnesses

post-2000 to those related to “sexual trafficking,” see Order of April 15, 2016, not to mention

Plaintiff has never issued a discovery request for communications with witness                 .

And Ms. Maxwell has only used her                    ” account as a spam account since the mid-

2000’s, when she opened her “         ” account. Unsurprisingly, documents from the early

2000’s do not still exist on the “           ” account (Plaintiff also has produced not a single

document from the 2000-2008 timeframe and has confessed to having a bonfire in her backyard

in 2013 with responsive documents).

       Responding to each and every one of Plaintiff’s misrepresentations is a waste of precious

resources for defense counsel and this Court, especially as to a matter for which this Court has

issued an adjournment of briefing.

       WHEREFORE, Ms. Maxwell respectfully requests the Court to strike docket entries 338,

338-1 and 338-2, filed by Plaintiff on August 8, 2016.




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Dated: August 10, 2016



                                       Respectfully submitted,



                                       /s/ Jeffrey S. Pagliuca
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                              CERTIFICATE OF SERVICE

I certify that on August 10, 2016, I electronically served this Motion to Strike Plaintiff’s
Supplement to Motion for Adverse Inference Instruction Based on New Information via ECF on
the following:
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